USCA Case #22-1334                          Document #2033894                                  Filed: 01/02/2024                      Page 1 of 2
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                                                              January 2, 2024


VIA CM/ECF
Mark Langer, Clerk of Court
U.S. Court of Appeals for the District of Columbia Circuit
E. Barrett Prettyman United States Courthouse
333 Constitution Avenue, NW
Washington, DC 20001

Re:     Nos. 22-1334 (lead) & 23-1151, Entergy Arkansas, LLC, et al. v. FERC

Dear Clerk Langer:

Cleco Cajun LLC, Cleco Corporate Holdings LLC, and Cleco Power LLC (collectively Cleco),
intervenors supporting Petitioner Entergy, will not be submitting or joining an intervenor brief in
this case. Upon review of Entergy’s brief filed November 13, 2023, and in the interest of brevity
and judicial efficiency, Cleco fully supports Petitioner Entergy and does not believe additional
briefing is necessary. For the reasons stated by Petitioner Entergy, we join in asking that the
petition for review be granted, and the challenged decisions be reversed and remanded. Cleco
appreciates the Court’s attention to this matter.


                                                                                  Very truly yours,

                                                                                  /s/ Matthew A. Fitzgerald
                                                                                  Matthew A. Fitzgerald


cc: All counsel of record (via CM/ECF)




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USCA Case #22-1334           Document #2033894               Filed: 01/02/2024       Page 2 of 2


                                  CERTIFICATE OF SERVICE

       I hereby certify that on January 2, 2024, the foregoing was filed electronically with the

Clerk of the Court for the United States Court of Appeals for the District of Columbia Circuit

using the appellate CM/ECF system. All participants in the case are registered CM/ECF users

and the system will serve them.



                                                     /s/ Matthew A. Fitzgerald
                                                     Matthew A. Fitzgerald
